Case 1:23-cr-20121-TLL-PTM ECF No. 1, PagelD.1 Filed 02/22/23 Page 1of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION

Case: 1:23-cr-20121

Judge: Ludington, Thomas L.
UNITED STATES OF AMERICA, MJ: Morris. Patricia T.

Filed: 02-22-2023 At 12:27 PM

Plaintiff, INDI USA v. Fredy Alonzo Poot-Naal (kre) |

Vv. Violation
8 U.S.C. § 1326(a)
FREDY ALONZO POOT-NAAL,

Defendant.

INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE
REENTRY OF REMOVED ALIEN
8 U.S.C. § 1326(a)

On or about January 28, 2023, in the Eastern District of Michigan, FREDY
ALONZO POOT-NAAL, an alien, was found in the United States after having been
deported and removed from the United States on or about August 12, 2019, at or
near Brownsville, Michigan, and not having obtained the express consent of the
Attorney General or the Secretary of Homeland Security to reapply for admission to

the United States, in violation of Title 8, United States Code, Section 1326(a).
Case 1:23-cr-20121-TLL-PTM ECF No. 1, PagelD.2 Filed 02/22/23 Page 2 of 3

Dated: February 22, 2023

DAWN N. ISON
United States Attorney

siJ. Michael Buckley

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P 36167

THIS IS A TRUE BILL.

s/Grand Jury Foreperson

GRAND JURY FOREPERSON

s/Anthony P. Vance

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P61148

Case 1:23-cr-20121-TLL-PTM ECF No. 1, PagelD.3 Filed 02/22/23 Page 3 of 3
Companion Case information MUST be completed by AUSA and initialed

United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

Case: 1:23-cr-20121
eae. Judge: Ludington, Thomas L.
This may be a companion case based upon LCrR 57.10 (b)(4)": MI: Morris, Patricia T.

Filed: 02-22-2023 At 12:27 PM
oives *No INDI USA v. Fredy Alonzo Poot-Naal (kre)

Case Title: USA v. Fredy Alonzo Poot-Naal

County where offense occurred: Isabella County

Check One: X Felony Oi Misdemeanor Petty

x__Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number:]
Indictment/ Information --- based upon LCrR 57.10 (d) {Complete Superseding section boon

Superseding Case Information |

Superseding to Case No: Judge:
oO Corrects errors; no additional charges or defendants.
Oo Involves, for plea purposes, different charges or adds counts.
O Embraces same subject matter but adds the additional defendants or charges below:
Defendant name Charges Prior Complaint (if applicable

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

s/Katharine Hemann
Date: February 22, 2023 Katharine Hemann

Assistant United States Attorney

101 First Street, Suite 200, Bay City, MI 48708
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Attorney Bar #: WSBA 46237

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present, and the cases arise out of the
same transaction or occurrence. Cases may be companion cases even though one of them may have already been terminated.
